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' `-J'L.J"|'i;

UNITED STA'I‘ES OF AMERICA
Plaintiff,

VS. CR. NO. 04~20294-D

DANNY MCKINNEY
Defendant.

AND SETTING

This cause came to be heard on August ll, 2005, the United States
Attorney for this district, Katrlna U. Earley, appearing for the Government
and the defendant, Danny McKinney, appearing in person and with counsel,
R. Price Harris, who represented the defendant.

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With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, NOVEMBER 9, 2005, at
1230 P.M., in Courtroqm No. 3, on the 9“ floor before Judge Bernice B.

Donald.

Defendant is allowed to remain released on present bond.

ENTERED this thea?& day of August, 2005.

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UNITED STATES DISTRICT JUDGE

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
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August 29, 2005 to the parties listed.

 

 

R. Price Harris

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Honorable Bernice Donald
US DISTRICT COURT

